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 4   Email: chascarreon@gmail.com
     Attorney for Plaintiffs
 5   Arizona Yagé Assembly and
     Winfield Scott Stanley III
 6
 7
                          IN THE UNITED STATES DISTRICT COURT
 8                                DISTRICT OF ARIZONA
 9
10   Arizona Yagé Assembly; Winfield Scott                No. 2:20-cv-2373-ROS
     Stanley III, in his capacity as Founder and
11   Director of Arizona Yagé Assembly,
12                  Plaintiffs,
13          v.
14
     Merrick B. Garland, Attorney General of the
15   United States, et al.,
16
17                          Defendants.

18
                                      MOTION TO INTERVENE
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            Prospective Intervenor Plaintiffs, through counsel and pursuant to Federal Rule of
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     Civil Procedure 24(a) and LRCiv 7.2, hereby move for leave to intervene in the above-
21
     captioned action. Prospective Intervenor Plaintiffs are members of the congregation of the
22
     Arizona Yage Assembly Visionary Church (hereinafter or “Intervenor Plaintiffs”).
23
            Intervenor Plaintiffs seek to intervene in this action to enforce their constitutional
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     and statutory rights which are being infringed by Defendants in the above-captioned
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     action.1 Under the guise of legitimate civil discovery, Defendants are using the discovery
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27   1
       Defendants are Merrick Garland (in his capacity as head of the Department of Justice and Drug
     Enforcement Agency), Anne Milgram (in her capacity as Administrator of the DEA), Alejandro Mayorkas
28   (in his capacity as Secretary of the Department of Homeland Security), Troy Miller (in his capacity as
     Acting Commissioner of for U.S. Customs and Border Protection (“CBP”) (collectively the “Defendants”).
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 1   process to target, harass, and violate Intervenor Plaintiffs’ constitutional and statutory
 2   rights. Intervenor Plaintiffs seek to intervene in this action as a matter of right pursuant to
 3   Federal Rule of Civil Procedure 24(a)(2) in order to protect and defend their constitutional
 4   and statutory rights.
 5          In the alternative, Intervenor Plaintiffs qualify for permissive intervention pursuant
 6   to Federal Rule of Civil Procedure 24(b), as Intervenor Plaintiffs’ claim shared a common
 7   question of law and fact with AYA’s claims against the Defendants in this action –
 8   specifically, Intervenor Plaintiffs strenuously object to actions by the Defendants that
 9   substantially burden their rights to Free Exercise, the practice of their religion, and their
10   Constitutional rights under the Fourth and Fifth Amendments.
11          For these reasons, and the reasons set forth in the accompanying memorandum of
12   law, Intervenor Plaintiffs respectfully request that this Court grant Intervenor Plaintiffs’
13   Motion to Intervene and direct the Clerk of Court to enter the attached Complaint in
14   Intervention into the docket in the above-captioned case.
15
16   Dated: March 12, 2024

17                                       CHARLES CARREON
18
                                         /s/ Charles Carreon ___________
19                                       CHARLES CARREON (CSB #127139)
                                         Attorney for Intervenor Plaintiff Taylor Cox,
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                                         personally, and as Class Representative
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